     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 1 of 16 Page ID #:3324



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                                      [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 2 of 16 Page ID #:3325



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 9
10
11                           UNITED STATES DISTRICT COURT
12                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
13
14                                                      Civil Case No.:
        BROIDY CAPITAL MANAGEMENT                       2:18-CV-02421-JFW-(Ex)
15      LLC and ELLIOTT BROIDY,
16
              Plaintiffs,                               [DISCOVERY MATTER]
17
18            v.
19      STATE OF QATAR, STONINGTON                      [PROPOSED] PROTECTIVE
20      STRATEGIES LLC, NICOLAS D.                      ORDER
        MUZIN, GLOBAL RISK ADVISORS
21      LLC, KEVIN CHALKER, DAVID MARK
22      POWELL, MOHAMMED BIN HAMAD
        BIN KHALIFA AL THANI, AHMED AL-
23      RUMAIHI, and DOES 1-10,                         Amended Complaint: May 24, 2018
24                                                      Judge: Hon. John F. Walter
              Defendants.                               Magistrate Judge: Hon. Charles F. Eick
25
26
27
28

                                                  2
                                      [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 3 of 16 Page ID #:3326



 1
             A.     Purposes and Limitations 1
 2
             Discovery in this action is likely to involve production of highly confidential,
 3
       proprietary or private information for which special protection from public disclosure and
 4
       from use for any purpose other than prosecuting this litigation may be warranted.
 5
       Accordingly, the Defendants hereto hereby petition the Court to enter the following
 6
       Protective Order. The Defendants acknowledge that this Order does not confer blanket
 7
       protections on all disclosures or responses to discovery and that the protection it affords
 8
       from public disclosure and use extends only to the limited information or items that are
 9
       entitled to confidential treatment under the applicable legal principles.
10
             B.     Good Cause Statement
11
             This action is likely to involve highly sensitive materials pertaining to the parties
12
       hereto (the “Parties” and each, individually, a “Party”), as well as confidential personal
13
       information from the individual defendants and non-parties. To the extent any such
14
       materials are subject to discovery in this action, the Parties agree and acknowledge that
15
       they will require special protection from public disclosure and from use for any purpose
16
       other than prosecution of this action. Such confidential and proprietary materials and
17
       information consist of, among other things, information otherwise generally unavailable
18
       to the public (including personal information such as phone or internet records), or which
19
       may be privileged or otherwise protected from disclosure under international treaty, state
20
       or federal statutes, court rules, case decisions, common law or confidentiality agreements.
21
       Accordingly, to expedite the flow of information, to facilitate the prompt resolution of
22
23
       1
         This Protective Order is based on Magistrate Judge Alexander F. MacKinnon’s Form
24     Stipulated Protective Order, with the inclusion of a Highly Confidential designation and
25     other modifications to account for the highly sensitive information at issue pertaining to a
       foreign sovereign’s diplomatic, security, and foreign policy information. The
26     modifications herein—including the inclusion of a Highly Confidential designation—are
27     consistent with the Standing Protective Orders of other judges in this District (e.g.,
       including those used by Judge Andrew J. Guilford and Judge John A. Kronstadt), and
28     with protective orders entered in other matters before the Honorable Charles F. Eick.

                                          [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 4 of 16 Page ID #:3327



 1
       disputes over confidentiality of discovery materials, to adequately protect information the
 2
       Parties are entitled to keep confidential, to ensure that the Parties are permitted
 3
       reasonable necessary uses of such material in preparation for and in the conduct of trial,
 4
       to address their handling at the end of the litigation, and serve the ends of justice, a
 5
       protective order for such information is justified in this matter. It is the intent of the
 6
       Parties that information will not be designated as confidential for tactical reasons and that
 7
       nothing be so designated without a good faith belief that there is good cause why it
 8
       should not be part of the public record of this case.
 9
             C.     Acknowledgment of Procedure for Filing Under Seal
10
             The Parties further acknowledge, as set forth below, that this Protective Order does
11
       not entitle them to file confidential information under seal; Local Civil Rule 79-5 sets
12
       forth the procedures that must be followed and the standards that will be applied when a
13
       party seeks permission from the court to file material under seal.
14
             There is a strong presumption that the public has a right of access to judicial
15
       proceedings and records in civil cases. In connection with non-dispositive motions, good
16
       cause must be shown to support a filing under seal. See Kamakana v. City & Cty. of
17
       Honolulu, 447 F.3d 1172, 1176 (9th Cir. 2006), Phillips v. Gen. Motors Corp., 307 F.3d
18
       1206, 1210–11 (9th Cir. 2002), Makar-Welbon v. Sony Elecs., Inc., 187 F.R.D. 576, 577
19
       (E.D. Wis. 1999) (even stipulated protective orders require good cause showing), and a
20
       specific showing of good cause or compelling reasons with proper evidentiary support
21
       and legal justification, must be made with respect to Protected Material that a Party seeks
22
       to file under seal. The Parties’ mere designation of Disclosure or Discovery Material as
23
       CONFIDENTIAL or HIGHLY CONFIDENTIAL – AEO does not—without the
24
       submission of competent evidence by declaration, establishing that the material sought to
25
       be filed under seal qualifies as confidential, privileged, or otherwise protectable—
26
       constitute good cause.
27
28

                                                       4
                                           [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 5 of 16 Page ID #:3328



 1
             Further, if a Party requests sealing related to a dispositive motion or trial, then
 2
       compelling reasons, not only good cause, for the sealing must be shown, and the relief
 3
       sought shall be narrowly tailored to serve the specific interest to be protected. See Pintos
 4
       v. Pac. Creditors Ass’n, 605 F.3d 665, 677–79 (9th Cir. 2010). For each item or type of
 5
       information, document, or thing sought to be filed or introduced under seal in connection
 6
       with a dispositive motion or trial, the Party seeking protection must articulate compelling
 7
       reasons, supported by specific facts and legal justification, for the requested sealing
 8
       order. Again, competent evidence supporting the application to file documents under seal
 9
       must be provided by declaration.
10
             Any document that is not confidential, privileged, or otherwise protectable in its
11
       entirety will not be filed under seal if the confidential portions can be redacted. If
12
       documents can be redacted, then a redacted version for public viewing, omitting only the
13
       confidential, privileged, or otherwise protectable portions of the document, shall be filed.
14
       Any application that seeks to file documents under seal in their entirety should include an
15
       explanation of why redaction is not feasible.
16
             D.     Definitions
17
                    1.     Action: This pending federal lawsuit and related actions.
18
                    2.     Challenging Party: A Party or Non-Party that challenges the
19
       designation of information or items under this Order.
20
                    3.     “CONFIDENTIAL” Information or Items: information (regardless of
21
       how it is generated, stored or maintained) or tangible things that qualify for protection
22
       under Federal Rule of Civil Procedure 26(c), including as specified above in the Good
23
       Cause Statement.
24
                    4.     “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
25
       (AEO)” Information or Items: CONFIDENTIAL information which a Party in good faith
26
       reasonably believes contains or comprises (i) sensitive, non-public, financial, marketing,
27
       customer, regulatory, research, development, personal, or commercial information;
28

                                                       5
                                          [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 6 of 16 Page ID #:3329



 1
       (ii) information protected by the Vienna Convention on Diplomatic Relations or the
 2
       Vienna Convention on Consular Relations, to the extent such material is produced; 2 or
 3
       (iii) any other information relating to the conduct by Qatar of its foreign policy.
 4
                     5.        Counsel: Outside Counsel of Record and House Counsel (as well as
 5
       their support staff).
 6
                     6.        Designating Party: a Party or Non-Party that designates information or
 7
       documents produced in discovery as “CONFIDENTIAL” or “HIGHLY
 8
       CONFIDENTIAL – AEO.”
 9
                     7.        Disclosure or Discovery Material: all items or information, regardless
10
       of the medium or manner in which it is generated, stored, or maintained (including,
11
       among other things, testimony, transcripts, and tangible things), that are produced or
12
       generated in disclosures or responses to discovery in this matter.
13
                     8.        Expert: a person with specialized knowledge or experience in a matter
14
       pertinent to the litigation who has been retained by a Party or its counsel to serve as an
15
       expert witness or as a consultant in this Action.
16
                     9.        House Counsel: attorneys who are employees of a party to this Action.
17
       House Counsel does not include Outside Counsel of Record or any other outside counsel.
18
                     10.       Non-Party: any natural person, partnership, corporation, association or
19
       other legal entity not named as a Party to this action.
20
                     11.       Outside Counsel of Record: attorneys who are not employees of a
21
       party to this Action but are retained to represent or advise a party to this Action and have
22
       appeared in this Action on behalf of that party or are affiliated with a law firm that has
23
       appeared on behalf of that party, and includes support staff.
24
25
26
       2
         Qatar objects to the production of any such material as the Vienna Conventions deem
27
       such material inviolable and absolutely protected from disclosure. This provision applies
28     in the event another party produces such material, whether or not pursuant to court order.

                                                         6
                                             [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 7 of 16 Page ID #:3330



 1
                    12.     Party: any party to this Action, including all of its officers, directors,
 2
       employees, consultants, retained experts, and Outside Counsel of Record (and their
 3
       support staffs).
 4
                    13.     Producing Party: a Party or Non-Party that produces Disclosure or
 5
       Discovery Material in this Action.
 6
                    14.     Professional Vendors: persons or entities that provide litigation
 7
       support services (e.g., court reporting, photocopying, videotaping, translating, preparing
 8
       exhibits or demonstrations, and organizing, storing, or retrieving data in any form or
 9
       medium) and their employees and subcontractors.
10
                    15.     Protected Material: any Disclosure or Discovery Material that is
11
       designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – AEO.”
12
                    16.     Receiving Party: a Party that receives Disclosure or Discovery
13
       Material from a Producing Party.
14
             E.     Scope
15
             The protections conferred by this Stipulation and Order cover not only Protected
16
       Material (as defined above), but also (1) any information copied or extracted from
17
       Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
18
       Material; and (3) any testimony, conversations, or presentations by Parties or their
19
       Counsel that might reveal Protected Material.
20
             Any use of Protected Material at trial shall be governed by the orders of the trial
21
       judge. This Order does not govern the use of Protected Material at trial.
22
             F.     Designating Protected Material
23
             1.     Exercise of Restraint and Care in Designating Material for Protection. Each
24
       Party or Non-Party that designates information or items for protection under this Order
25
       must take care to limit any such designation to specific material that qualifies under the
26
       appropriate standards. The Designating Party must designate for protection only those
27
       parts of material, documents, items or oral or written communications that qualify so that
28

                                                       7
                                           [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 8 of 16 Page ID #:3331



 1
       other portions of the material, documents, items, or communications for which protection
 2
       is not warranted are not swept unjustifiably within the ambit of this Order.
 3
             Mass, indiscriminate or routinized designations are prohibited. Designations that
 4
       are shown to be clearly unjustified or that have been made for an improper purpose (e.g.,
 5
       to unnecessarily encumber the case development process or to impose unnecessary
 6
       expenses and burdens on other parties) may expose the Designating Party to sanctions.
 7
             If it comes to a Designating Party’s attention that information or items that it
 8
       designated for protection do not qualify for protection, that Designating Party must
 9
       promptly notify all other Parties that it is withdrawing the inapplicable designation.
10
                    2.    Manner and Timing of Designations. Except as otherwise stipulated or
11
       ordered, Disclosure or Discovery Material that qualifies for protection under this Order
12
       must be clearly so designated by the Producing Party before the material is disclosed or
13
       produced. Disclosure or Discovery Material that qualifies for protection under this Order
14
       but was produced before the Order is formally entered is nevertheless subject to this
15
       Order, including the Designations process.
16
             Following the entry of this Order, all Parties shall have twenty (20) business days
17
       to designate as “Confidential” or “Highly Confidential – AEO” any material that has
18
       been marked “Attorneys’ Eyes Only,” including any Disclosure or Discovery Material so
19
       designated pursuant to Judge Forrest’s June 11, 2018 Order. After that period, the
20
       designated portions shall be re-classified as “Confidential” or “Highly Confidential –
21
       AEO,” as applicable, pursuant to this Order and any material not so designated will
22
       thereafter be deemed not confidential.
23
             Notwithstanding the existence or non-existence of any such designations by the
24
       Producing Party, all material produced in the action—including deposition testimony—
25
       shall be treated as Highly Confidential – Attorneys’ Eyes Only for a period of twenty
26
       (20) days from the date of its production. During this period, any Party to the action may
27
       designate such material as protected under this Order. Moreover, any Party to the action
28

                                                     8
                                         [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 9 of 16 Page ID #:3332



 1
       has a period of twenty (20) days following the entry of this Order to designate as
 2
       protected any material already produced in this action.
 3
             Designation in conformity with this Order requires:
 4
                           a)     for information in documentary form (e.g., paper or electronic
 5
       documents, but excluding transcripts of depositions or other pretrial or trial proceedings),
 6
       that the Designating Party affix at a minimum, the legend “CONFIDENTIAL”
 7
       (hereinafter “CONFIDENTIAL legend”) or “HIGHLY CONFIDENTIAL – AEO”
 8
       (hereinafter, “HIGHLY CONFIDENTIAL” legend) to each page that contains protected
 9
       material. If only a portion of the material on a page qualifies for protection, the
10
       Designating Party also must clearly identify the protected portion(s) (e.g., by making
11
       appropriate markings in the margins).
12
             A Party or Non-Party that makes original documents available for inspection need
13
       not designate them for protection until after the inspecting Party has indicated which
14
       documents it would like copied and produced.
15
                           b)     for testimony given in depositions that the Designating Party
16
       identifies the Disclosure or Discovery Material on the record, before the close of the
17
       deposition all protected testimony.
18
                           c)     for information produced in some form other than documentary
19
       and for any other tangible items, that the Designating Party affix in a prominent place on
20
       the exterior of the container or containers in which the information is stored the legend
21
       “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – AEO.” If only a portion or
22
       portions of the information warrants protection, the Designating Party, to the extent
23
       practicable, shall identify the protected portion(s).
24
                    3.     Inadvertent Failures to Designate. If timely corrected, an inadvertent
25
       failure to designate qualified information or items does not, standing alone, waive the
26
       Designating Party’s right to secure protection under this Order for such material. Upon
27
28

                                                      9
                                          [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 10 of 16 Page ID
                                       #:3333


 1
     timely correction of a designation, the Receiving Party must make reasonable efforts to
 2
     assure that the material is treated in accordance with the provisions of this Order.
 3
           G.     Challenging Confidentiality Designations
 4
                  1.    Timing of Challenges. Any Party or Non-Party may challenge a
 5
     designation of confidentiality at any time that is consistent with the Court’s Scheduling
 6
     Order.
 7
                  2.    Meet and Confer. The Challenging Party shall initiate the dispute
 8
     resolution process under Local Rule 37-1 et seq.
 9
                  3.    Joint Stipulation. Any challenge submitted to the Court shall be via a
10
     joint stipulation pursuant to Local Rule 37-2.
11
                  4.    The burden of persuasion in any such challenge proceeding shall be
12
     on the Designating Party. Frivolous challenges, and those made for an improper purpose
13
     (e.g., to harass or impose unnecessary expenses and burdens on other parties) may expose
14
     the Challenging Party to sanctions. Unless the Designating Party has waived or
15
     withdrawn the confidentiality designation, all parties shall continue to afford the material
16
     in question the level of protection to which it is entitled under the Producing Party’s
17
     designation until the Court rules on the challenge.
18
           H.     Access to and Use of Protected Material
19
                  1.    Basic Principles. A Receiving Party may use Protected Material that is
20
     disclosed or produced by another Party or by a Non-Party in connection with this Action
21
     only for prosecuting, defending or attempting to settle this Action. Such Protected
22
     Material may be disclosed only to the categories of persons and under the conditions
23
     described in this Order. When the Action has been terminated, a Receiving Party must
24
     comply with the provisions of section O below (FINAL DISPOSITION).
25
           Protected Material must be stored and maintained by a Receiving Party at a
26
     location and in a secure manner that ensures that access is limited to the persons
27
     authorized under this Order.
28

                                                   10
                                       [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 11 of 16 Page ID
                                       #:3334


 1
                  2.     Court Filings. Unless otherwise ordered by the court or permitted in
 2
     writing by the Designating Party, a Receiving Party may not disclose any information or
 3
     items designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – AEO” in a
 4
     public filing.
 5
                  3.     Disclosure of “HIGHLY CONFIDENTIAL – AEO” Information or
 6
     Items. Unless otherwise ordered by the court or permitted in writing by the Designating
 7
     Party, a Receiving Party may disclose any information or item designated “HIGHLY
 8
     CONFIDENTIAL – AEO” only to:
 9
                         a)    the Receiving Party’s Outside Counsel of Record in this Action,
10
     as well as employees of said Outside Counsel of Record to whom it is reasonably
11
     necessary to disclose the information for this Action;
12
                         b)    Experts (as defined in this Order) of the Receiving Party to
13
     whom disclosure is reasonably necessary for this Action and who have signed the
14
     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
15
                         c)    the court and its personnel;
16
                         d)    court reporters and their staff;
17
                         f)    the author or recipient of a document containing the
18
     information or a custodian or other person who otherwise possessed the information;
19
                         g)    during their depositions, witnesses, and attorneys for witnesses,
20
     in the Action to whom disclosure is reasonably necessary provided: (1) the deposing
21
     party requests that the witness sign the form attached as Exhibit A hereto; and (2) they
22
     will not be permitted to keep any confidential information unless otherwise agreed by the
23
     Designating Party or ordered by the court. Pages of transcribed deposition testimony or
24
     exhibits to depositions that reveal Protected Material may be separately bound by the
25
     court reporter and may not be disclosed to anyone except as permitted under this
26
     Protective Order.
27
28

                                                   11
                                       [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 12 of 16 Page ID
                                       #:3335


 1
                    4.   Disclosure of “CONFIDENTIAL” Information or Items. Unless
 2
     otherwise ordered by the court or permitted in writing by the Designating Party, a
 3
     Receiving Party may disclose any information or item designated “CONFIDENTIAL”
 4
     only to:
 5
                         a)       the Receiving Party’s Outside Counsel of Record in this Action,
 6
     as well as employees of said Outside Counsel of Record to whom it is reasonably
 7
     necessary to disclose the information for this Action;
 8
                         b)       the parties, including such officers, directors, and employees
 9
     (including House Counsel) of the Receiving Party to whom disclosure is reasonably
10
     necessary for this Action;
11
                         c)       Experts (as defined in this Order) of the Receiving Party to
12
     whom disclosure is reasonably necessary for this Action and who have signed the
13
     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
14
                         d)       the court and its personnel;
15
                         e)       court reporters and their staff;
16
                         f)       professional jury or trial consultants, mock jurors, and
17
     Professional Vendors to whom disclosure is reasonably necessary for this Action and
18
     who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
19
                         g)       the author or recipient of a document containing the
20
     information or a custodian or other person who otherwise possessed or knew the
21
     information;
22
                         h)       during their depositions, witnesses, and attorneys for witnesses,
23
     in the Action to whom disclosure is reasonably necessary provided: (1) the deposing
24
     party requests that the witness sign the form attached as Exhibit A hereto; and (2) they
25
     will not be permitted to keep any confidential information unless otherwise agreed by the
26
     Designating Party or ordered by the court. Pages of transcribed deposition testimony or
27
     exhibits to depositions that reveal Protected Material may be separately bound by the
28

                                                      12
                                          [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 13 of 16 Page ID
                                       #:3336


 1
     court reporter and may not be disclosed to anyone except as permitted under this
 2
     Protective Order; and
 3
                         i)    any mediator or settlement officer, and their supporting
 4
     personnel, mutually agreed upon by any of the parties engaged in settlement discussions.
 5
           I.     Protected Material Subpoenaed or Ordered Produced in Other Litigation
 6
           If a Party is served with a subpoena or a court order issued in other litigation that
 7
     compels disclosure of any information or items designated in this Action as
 8
     “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – AEO,” that Party must:
 9
                  a)     promptly notify in writing the Designating Party. Such notification
10
     shall include a copy of the subpoena or court order;
11
                  b)     promptly notify in writing the party who caused the subpoena or order
12
     to issue in the other litigation that some or all of the material covered by the subpoena or
13
     order is subject to this Protective Order. Such notification shall include a copy of this
14
     Protective Order; and
15
                  c)     cooperate with respect to all reasonable procedures sought to be
16
     pursued by the Designating Party whose Protected Material may be affected.
17
                  If the Designating Party timely seeks a protective order, the Party served
18
     with the subpoena or court order shall not produce any information designated in this
19
     action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – AEO” before a
20
     determination by the court from which the subpoena or order issued, unless the Party has
21
     obtained the Designating Party’s permission. The Designating Party shall bear the burden
22
     and expense of seeking protection in that court of its confidential material and nothing in
23
     these provisions should be construed as authorizing or encouraging a Receiving Party in
24
     this Action to disobey a lawful directive from another court.
25
           J.     A Non-Party’s Protected Material Sought to Be Produced in This Litigation
26
           a)     The terms of this Order are applicable to information produced by a Non-
27
     Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
28

                                                    13
                                        [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 14 of 16 Page ID
                                       #:3337


 1
     CONFIDENTIAL – AEO.” Such information produced by Non-Parties in connection
 2
     with this litigation is protected by the remedies and relief provided by this Order. Nothing
 3
     in these provisions should be construed as prohibiting a Non-Party from seeking
 4
     additional protections.
 5
           b)     In the event that a Party is required, by a valid discovery request, to produce
 6
     a Non-Party’s confidential information in its possession, and the Party is subject to an
 7
     agreement with the Non-Party not to produce the Non-Party’s confidential information,
 8
     then the Party shall: (1) promptly notify in writing the Requesting Party and the Non-
 9
     Party that some or all of the information requested is subject to a confidentiality
10
     agreement with a Non-Party; (2) promptly provide the Non-Party with a copy of the
11
     Protective Order in this Action, the relevant discovery request(s), and a reasonably
12
     specific description of the information requested; and (3) make the information requested
13
     available for inspection by the Non-Party, if requested.
14
           c)     If the Non-Party fails to seek a protective order from this court within 14
15
     days of receiving the notice and accompanying information, the Receiving Party may
16
     produce the Non-Party’s confidential information responsive to the discovery request. If
17
     the Non-Party timely seeks a protective order, the Receiving Party shall not produce any
18
     information in its possession or control that is subject to the confidentiality agreement
19
     with the Non-Party before a determination by the court. Absent a court order to the
20
     contrary, the Non-Party shall bear the burden and expense of seeking protection in this
21
     court of its Protected Material.
22
           K.     Unauthorized Disclosure of Protected Material
23
           If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
24
     Protected Material to any person or in any circumstance not authorized under this
25
     Protective Order, the Receiving Party must immediately (a) notify in writing the
26
     Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve all
27
     unauthorized copies of the Protected Material, (c) inform the person or persons to whom
28

                                                    14
                                        [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 15 of 16 Page ID
                                       #:3338


 1
     unauthorized disclosures were made of all the terms of this Order, and (d) request such
 2
     person or persons to execute the “Acknowledgment and Agreement to Be Bound” that is
 3
     attached hereto as Exhibit A.
 4
           L.     Inadvertent Production of Privileged or Otherwise Protected Material
 5
           When a Producing Party gives notice to Receiving Parties that certain inadvertently
 6
     produced material is subject to a claim of privilege or other protection, the obligations of
 7
     the Receiving Parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B).
 8
     This provision is not intended to modify whatever procedure may be established in an e-
 9
     discovery order that provides for production without prior privilege review. Pursuant to
10
     Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the
11
     effect of disclosure of a communication or information covered by the attorney-client
12
     privilege or work product protection, the parties may incorporate their agreement in the
13
     protective order submitted to the court.
14
           M.     Miscellaneous
15
                  1.     Right to Further Relief. Nothing in this Order abridges the right of any
16
     person to seek its modification by the Court in the future.
17
                  2.     Right to Assert Other Objections. By stipulating to the entry of this
18
     Protective Order, no Party waives any right it otherwise would have to object to
19
     disclosing or producing any information or item on any ground not addressed in this
20
     Protective Order. Similarly, no Party waives any right to object on any ground to use in
21
     evidence of any of the material covered by this Protective Order.
22
                  3.     Filing Protected Material. A Party that seeks to file under seal any
23
     Protected Material must comply with Local Civil Rule 79-5. Protected Material may only
24
     be filed under seal pursuant to a court order authorizing the sealing of the specific
25
     Protected Material at issue. If a Party’s request to file Protected Material under seal is
26
     denied by the court, then the Receiving Party may file the information in the public
27
     record unless otherwise instructed by the court.
28

                                                    15
                                        [PROPOSED] PROTECTIVE ORDER
     Case 2:18-cv-02421-JFW-E Document 185-1 Filed 08/01/18 Page 16 of 16 Page ID
                                       #:3339


 1
           N.     Final Disposition
 2
           After the final disposition of this Action, within 60 days of a written request by the
 3
     Designating Party, each Receiving Party must return all Protected Material to the
 4
     Producing Party or destroy such material. As used in this subdivision, “all Protected
 5
     Material” includes all copies, abstracts, compilations, summaries, and any other format
 6
     reproducing or capturing any of the Protected Material. Whether the Protected Material is
 7
     returned or destroyed, the Receiving Party must submit a written certification to the
 8
     Producing Party (and, if not the same person or entity, to the Designating Party) by the 60
 9
     day deadline that (1) identifies (by category, where appropriate) all the Protected Material
10
     that was returned or destroyed and (2) affirms that the Receiving Party has not retained
11
     any copies, abstracts, compilations, summaries or any other format reproducing or
12
     capturing any of the Protected Material. Notwithstanding this provision, Counsel are
13
     entitled to retain an archival copy of all pleadings, motion papers, trial, deposition, and
14
     hearing transcripts, legal memoranda, correspondence, deposition and trial exhibits,
15
     expert reports, attorney work product, and consultant and expert work product, even if
16
     such materials contain Protected Material. Any such archival copies that contain or
17
     constitute Protected Material remain subject to this Protective Order.
18
           O.     Violation
19
           Any violation of this Order may be punished by appropriate measures including,
20
     without limitation, contempt proceedings and/or monetary sanctions.
21
22
           SO ORDERED:          ________________________, 2018 [date]
23
                               At: __________ [time]
24
                               Los Angeles, California
25
26
                                                             _________________________
27                                                           Hon. Charles F. Eick
28                                                           United States Magistrate Judge

                                                    16
                                        [PROPOSED] PROTECTIVE ORDER
